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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA
                                              Case No. 1:18-cr-00258-BLW

        Plaintiff,                            MEMORANDUM DECISION
                                              AND ORDER RE:
         v.                                   DEFENDANTS’ OBJECTION TO
                                              GOVERNMENT NOTICE TO
  PAVEL BABICHENKO, PIOTR                     INTRODUCE RECORDS UNDER
  BABICHENKO, TIMOFEY                         FEDERAL RULE OF EVIDENCE
  BABICHENKO, KRISTINA                        902 (DKT. 1296)
  BABICHENKO, DAVID BIBIKOV,
  ANNA IYERUSALIMETS, and
  MIKHAIL IYERUSALIMETS,

        Defendants.



                                INTRODUCTION

      Before the Court is Defendants’ Objection to Government Notice of Intent to

Introduce Records Under Federal Rule of Evidence 902. (Dkt. 1296.) For the

reasons explained below, the Court will sustain the objection but only to the extent

Defendants challenge the adequacy of the certifications to meet the requirements of

Rules 803(6) and 902(11) for admission of the Amazon Records as self-

authenticating business records.




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                               LEGAL STANDARD

      Federal Rule of Evidence 902 allows for the admission of records of a

regularly conducted activity that “meets the requirements of Rule 803(6)(A)-(C),

as shown by a certification of the custodian or another qualified person . . . .” Fed.

R. Evid. 902(11).

      Under Federal Rule of Evidence 803(6), “a record of an act, event,

condition, opinion, or diagnosis” is “not excluded by the rule against hearsay,

regardless of whether the declarant is available as a witness” if:

      (A) the record was made at or near the time by—or from information
      transmitted by—someone with knowledge;

      (B) the record was kept in the course of a regularly conducted activity
      of a business, organization, occupation, or calling, whether or not for
      profit;

      (C) making the record was a regular practice of that activity;

      (D) all these conditions are shown by the testimony of the custodian
      or another qualified witness, or by a certification that complies with
      Rule 902(11) or (12) or with a statute permitting certification; and

      (E) the opponent does not show that the source of information or the
      method or circumstances of preparation indicate a lack of
      trustworthiness.

Fed. R. Evid. 803(6).

      The Ninth Circuit has made clear that records maintained in a computer may

qualify as business records under Rule 803(6) and that, similarly, “evidence that



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has been compiled from a computer database is also admissible as a business

record, provided it meets the criteria of Rule 803(6).” U-Haul Int'l, Inc. v.

Lumbermens Mut. Cas. Co., 576 F.3d 1040, 1043-44 (9th Cir. 2009) (citations

omitted).

                                     ANALYSIS

      The records at issue here are what the Government refers to as the “Amazon

Records.” (See Dkt. 1272.) These records include Excel spreadsheets listing

546,383 Amazon sales transactions occurring between 2010 and 2018 from over

20 different merchants, and certifications regarding those spreadsheets. (See Dkts.

1296-3 to 1296-6 (Exhibits A-E to Defendants’ motion).1 The spreadsheets are

accompanied by certifications from Amazon that state the following:

      1.    I am an employee of Amazon Inc (“Amazon”). I make this
      declaration based on personal firsthand knowledge and, if called as a
      witness, I could testify as set forth below.

      2.    Amazon produced documents responsive to the above-
      referenced law enforcement request [Amazon Ref. No. CRIM1176880
      2022 DS:US v. Pavel Babichenko, et. al. (External Case No. [Empty])




      1
        The records set forth in the Government’s Notice (Dkt. 1272) were disclosed to
Defendants on February 17, 2022, one day after the discovery deadline. Government
counsel explains that this one day delay was unintentional and the result of counsel’s
oversight. The Court does not find this one day delay relevant to the determination of
whether the records are admissible under Rules 803(6) and 902.



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      3.    All documents produced by Amazon are authentic, are what
      they purport to be, and accurately describe the transactions,
      communications, and events set forth therein.

      4.     All documents produced by Amazon are business records in
      that they are (i) kept in the ordinary course business; (ii) created at or
      near the time of the transactions or events reflected therein, or based
      on information from a person with knowledge of the transaction or
      events; and (iii) kept as a part of a regular business activity.


(Dkts. 1296-2, 1296-5 (Exhibits A and D to Defendant’s motion).)

      These certifications would appear to be sufficient to meet the requirements

of Rule 803(6)(A)-(C), as well as Rule 803(6)(D) (requiring the conditions in

803(6)(A)-(C) be “shown by the testimony of the custodian or another qualified

witness, or by a certification that complies with Rule 902(11) or (12) or with a

statute permitting certification”). However, a follow-up email from Amazon raises

concerns regarding the accuracy of the certifications.

      The follow-up email states:

      We have uploaded in the below account three spreadsheets . . . . Please note
      that these spreadsheets contain the original data and pivot tables from our
      prior productions, with the addition of two new tabs per spreadsheet (in
      blue), entitled “Sales Including Condition Dedup” (deduped sales records)
      and “Sales Pivot Dedup” (updated pivot tables based on deduped sales
      records).

      Please note that this information is the product of an internal investigation,
      requiring analytical efforts beyond merely collecting records maintained in
      the ordinary course of business. Amazon does not proactively refer all
      suspected criminal activity to law enforcement, but may choose to do so in
      select circumstances. Amazon pursued internal investigations for its own


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       business purposes, and does not conduct investigations or generate reports at
       the request of law enforcement.

(Dkt. 1413-1 (emphasis added).)

       The emphasized language—stating that the information Amazon has

provided to the Government involves “analytical efforts beyond merely collecting

records maintained in the ordinary course of business”— appears to contradict

Amazon’s previous certifications that the information it provided to the

Government are “business records in that they are (i) kept in the ordinary course of

business . . .”

       The Government contends that the email’s contradictory language is merely

what the Government describes as an “offhand stock paragraph,” and that the

language thus does not impact the legitimacy of the certifications previously

provided by Amazon. Little more is offered to explain why this language appears

in the email. Without a better explanation, the Court must conclude that the

contradictory language raises concerns regarding whether the spreadsheets include

information based on analytical efforts beyond merely collecting records

maintained in the ordinary course of business. Accordingly, the Court will sustain

defendants’ objection, having concluded that the certification raises questions as to

whether the Amazon Records are, in fact, “records of a regularly conducted

activity” within the meaning of Rule 803(6).



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      Additionally, under Federal Rule of Evidence 902(11), if a party wishes to

offer certified records of a regularly conducted activity – without “extrinsic

evidence of authenticity” – that party must give the other side a chance to

challenge the certification and records. As stated in the rule:

      Before the trial or hearing, the proponent must give an adverse party
      reasonable written notice of the intent to offer the record – and must
      make the record and certification available for inspection – so that the
      party has a fair opportunity to challenge them.

Fed. R. Evid. 902(11).

      Of course, that rule contemplates providing paper copies to the opposing

party, which doesn’t make sense in this day and age because many businesses –

Amazon included – store records digitally. With digital records, the Court

concludes that the proponent needs to tell the adverse party how a particular data

set was generated in order to comply with Rule 902(11). Applied here, then, the

Government needs to let the defendants know which search terms were used to

generate the records that are being offered as exhibits. The Government also needs

to produce all subpoenas Amazon was responding to when it generated the records

that the Government seeks to offer at trial. To the Court’s knowledge, the

Government has not completed this task. As far as the Court is aware, the

Government has provided the defense with a copy of one Amazon subpoena (Dkt.

1438-1), but that subpoena references subpoena returns 105906 and 1042568, and



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it does not appear that the information on those subpoena returns (or the underlying

subpoenas for those returns) has been disclosed to the defendants. The Government

also has not provided any information on the queries used by Amazon in creating

the data. The Court will order the Government to provide this information to the

defendants. And, to clarify, the Court will require that the Government supply this

information even though Government will now presumably seek to admit the

Amazon Records at trial through a witness, rather than through a certification.

      Defendants have also raised concerns about whether the information in the

spreadsheets is incomplete. For example, they argue that the spreadsheets do not

include customer communications, do not appear to include information regarding

customer returns, and do not otherwise appear to provide a complete record of the

transactions in the spreadsheet. The Court is not persuaded that these sorts of

omissions would bar admission of the Amazon Records. After, all, the vast

majority of all business records are likely created and stored digitally. This has

resulted in the storage of data in quantities that were once unimaginable. To be

usable, electronically stored business records must be retrieved selectively. And so

it is with the presentation of those types of records as trial exhibits. Requiring that

business record exhibits include all underlying data stored by the custodian with

regard to particular business transactions, would be unworkable and result in trial

exhibits that are incomprehensible to the finder of fact.


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      On the other hand, a party cannot “cherry pick” the underlying data in

presenting a business record exhibit in such a way that its probative value is

substantially outweighed by a danger of confusing the issues, prejudicing an

opponent, or misleading the jury. But that is a concern which must be addressed at

trial in the context of Rule 403.

      For all these reasons, the Court will sustain Defendants’ objection to the

extent Defendants challenge the adequacy of the certifications to meet the

requirements of Rules 803(6) and 902(11) for admission of the spreadsheets as

self-authenticating business records. This ruling does not, however, preclude the

Government from seeking to admit the spreadsheets as business records through

other means, such as through witness testimony.2

                                        ORDER

      IT IS ORDERED that:

   1. Defendants’ objection to the admission of the Amazon Records under




      2
          Defendants also argue that the spreadsheets should be excluded because the
Government delayed until 2022 to request these records then chose to provide only a
“barebones” notice to Defendants “at the eleventh hour, circumventing the defense’s
ability to meaningfully defend against the evidence.” Defendants further argue that the
records should be excluded because the presentation of this evidence will inevitably
lengthen trial. The Court finds these arguments to be unpersuasive and to not warrant
exclusion of the evidence.



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     Federal Rule of Evidence 902 is SUSTAINED to the extent Defendants

     challenge the adequacy of the certifications to meet the requirements of

     Rules 803(6) and 902(11) for admission of the Amazon Records as self-

     authenticating business records.

  2. By no later than May 25, 2022, the Government shall produce to the

     defense: (1) copies of all subpoenas issues to Amazon which resulted in the

     creation of the “Amazon Records” described in this decision, including any

     underlying subpoenas; and (2) the search terms or queries that were used to

     generate the Amazon Records.

  3. The Government is granted leave to amend its exhibit and witness lists, no

     later than May 25, 2022, to accommodate the Court’s ruling.



                                           DATED: May 19, 2022


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




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